     Case: 1:22-cv-03998 Document #: 25 Filed: 10/07/22 Page 1 of 1 PageID #:120


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Dena Natour v. Village of Oak                  Case Number: 22-cv-03998
           Lawn, et al.

An appearance is hereby filed by the undersigned as attorney for:
Defendant Officer P. O'Donnell
Attorney name (type or print): Michael J. Victor

Firm: Donahue & Rose, PC

Street address: 9501 W. Devon Ave., Ste 702

City/State/Zip: Rosemont, IL 60018

Bar ID Number: 62896                                       Telephone Number: (224) 580-2325
(See item 3 in instructions)

Email Address: mvictor@drlawpc.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 10/7/22

Attorney signature:            S/ Michael J. Victor
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
